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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                              (Northern Division)


CHARGEPOINT, INC.,                   §
                                     §
           Plaintiff,                §
                                     §
v.                                   §
                                     §   Civil Action No. 8:17-cv-03717-MJG
SEMACONNECT, INC.,                   §
                                     §
           Defendant.                §
                                     §
                                     §

 DEFENDANT SEMACONNECT’S MEMORANDUM IN SUPPORT OF ITS MOTION
             TO DISMISS FOR FAILURE TO STATE A CLAIM
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Ex. 2                 Excerpts of the File History of U.S. Patent No. 8,138,715
Ex. 3                 Excerpts of the File History of U.S. Patent No. 8,432,131
Ex. 4                 Excerpts of the File History of U.S. Patent No. 7,956,570
Ex. 5                 Excerpts of the File History of U.S. Patent No. 8,450,967
Ex. 6                 U.S. Patent No. 6,081,205
Ex. 7                 International Patent Application Publication No. WO2007/141543
Ex. 8                 U.S. Patent Application Publication No. 2009/0021213
Ex. 9                 AeroVironment, Inc., “PosiNET: Fleet Performance Management for
                      your Fast-Charged Vehicles” (2006)
Ex. 10                United States Patent & Trademark Office’s July 2015 Update: Subject
                      Matter Eligibility
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       Pursuant to Federal Rule of Civil Procedure 12(b)(6) and 35 U.S.C. § 101, Defendant

SemaConnect, Inc. (“SemaConnect”) respectfully moves to dismiss the Complaint of Plaintiff

ChargePoint, Inc. (“ChargePoint”) for failure to state a claim upon which relief can be granted

because the eight asserted claims—claims 31 and 32 of U.S. Patent No. 7,956,570 (Dkt. 1-1);

claims 1 and 2 of U.S. Patent No. 8,138,715 (Dkt. 1-2); claims 1 and 8 of U.S. Patent No.

8,432,131 (Dkt. 1-3); and claims 1 and 2 of U.S. Patent No. 8,450,967 (Dkt. 1-4) (collectively,

“the Asserted Claims”)—are directed to patent-ineligible subject matter and thus invalid under

35 U.S.C. § 101.

I.     INTRODUCTION

       Since the Supreme Court’s seminal Alice decision in 2014, patent infringement lawsuits,

like this one, are frequently dismissed at the pleading stage for lack of patentable subject matter.

In fact, courts are encouraged to dismiss lawsuits on 35 U.S.C. § 101 grounds to avoid frivolous

lawsuits and costly litigation.      In ChargePoint’s own words, the Asserted Claims are

“straightforward,” and no claim construction is required to understand the breadth of their

claims. According to ChargePoint, the claims are so broad that they are infringed by any electric

charging station that is connected to the Internet—even an electric charging station that has not

been built or installed yet (Dec. 22, 2017 Hearing on Temporary Restraining Order Tr. at 4:12-

20). These are the very types of accusations that Alice intended to end, and it is entirely proper

to dismiss these accusations at the pleadings stage. See Alice Corp. Pty. Ltd. v. CLS Bank Int’l,

134 S. Ct. 2347, 2359-60 (2014).

       As the popularity of the Internet grew in the mid-2000s, there was a rush to patent routine

tasks that were now being performed on the Internet. For example, companies tried to patent the

idea of using a remote server to process a car loan application (Credit Acceptance Corp. v.

Westlake Servs., 859 F.3d 1044, 1047 (Fed. Cir. 2017)), to control a turnstile (Smart Sys.


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Innovations, LLC v. Chicago Transit Auth., 873 F.3d 1364, 1368-69 (Fed. Cir. 2017)), and to

monitor a power grid (Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed. Cir.

2016)).     The Federal Circuit found each of these patents invalid as they were not real

inventions—they merely used the Internet to remotely control a known process. 859 F.3d at

1056-57; 873 F.3d at 1374-75; 830 F.3d at 1356. The Asserted Claims do just that—they use the

Internet to remotely perform a known method of turning a switch “on” and “off.”

          The Asserted Claims recite generic, known structures (e.g., transceiver, controller) for

performing this task. The only invention—to the extent there is one at all—is using a network to

turn the charging station “on” and “off.”       ChargePoint claims to have a monopoly on all

networked electric charging stations. Fortunately Alice was the death knell for these types of

patent claims, and if ChargePoint were to apply for its patent claims today, the Patent Office

would not allow them.1 The Patent Office’s revised 2015 examination guidelines and Alice’s

progeny make it clear that routine every-day tasks, like turning an outlet “on” and “off,” are

abstract ideas, and therefore unpatentable subject matter. Simply connecting well-known and

conventional structures to transmit information over a network to remotely control this outlet to

turn “on” and “off” is not a technical advancement and does not transform the abstract idea into

something more inventive.

          ChargePoint’s infringement allegations are even more disturbing given the scope of the

prior art. There is no dispute that ChargePoint did not invent the electric car or the electric car

charging station, much less the Internet. In fact, one of the named inventors, Mr. David Baxter,


1
    ChargePoint has two more patents (U.S. Patent Nos. 9,597,974 and 9,610,856) that issued
after the Supreme Court’s Alice decision and share the same specification as the Asserted
Patents. These later issued claims are narrower in subject matter, presumably due to the cautions
of Alice. Tellingly, ChargePoint has not asserted these patent claims against SemaConnect, nor
can they, because SemaConnect does not infringe those narrower claims.


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admits in his declaration that electric vehicle (EV) charging stations existed for many years

before his claimed invention. (Dkt. 2-3 ¶ 5.) Instead he claims that he was the first to “network”

those charging stations. (Id.) To the contrary, numerous companies were networking charging

stations well before ChargePoint did. For example, any electric charging station that allowed a

user to pay by credit card was “networked.” Because the Asserted Claims recite generic, known

structures for running a charging station that are simply connected to the network, there is no

way for ChargePoint to read those claims on SemaConnect’s charging stations without also

reading them on the prior art. The prior art, discussed herein, is definitive proof that the Patent

Office erred when it allowed the Asserted Claims. If, for any reason, the Court decides not to

grant this Motion, SemaConnect respectfully requests that the Court permit SemaConnect the

opportunity to file an expedited Rule 56 motion that the claims are invalid under §§ 102 and 103.

II.      BACKGROUND2

         A.      The Asserted Patents

         The ’570, ’715, ’131, and ’967 patents (collectively “the Asserted Patents”) claim priority

to a provisional patent application filed on January 7, 2008, and they all share the same

specification. The earliest patent, the ’570 patent, issued on June 7, 2011. The ’715 patent,

which is a continuation of the ’570 patent, issued on March 20, 2012. The ’131 patent, which is

a continuation of the ’715 patent, issued on April 30, 2013. Finally, the ’967 patent, which is a

divisional of the ’715 patent, issued on May 28, 2013. All Asserted Patents were examined and

issued before the Supreme Court’s seminal Alice decision on June 19, 2014, and before the

Patent Office changed its examination guidelines in 2015.3 See Microsoft Corp. v. i4i Ltd.


2
      More background on the parties and their present dispute can be found in Dkt. 24 at 2-3.
3
    See https://www.uspto.gov/sites/default/files/documents/ieg-july-2015-update.pdf (last visited
1/1/2018).


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P’ship, 564 U.S. 91, 111 (2011) (“if the PTO did not have all material facts before it, its

considered judgment may lose significant force”); see also Inventor Holdings, LLC v. Bed Bath

& Beyond, Inc., 876 F.3d 1372, 1379 (Fed. Cir. 2017) (holding that “Alice was a significant

change in the law”).

       The Asserted Patents describe at a very high-level the business of running a charging

station, and using a network (e.g., the Internet) to control the electrical outlet at the charging

station by turning the charging station’s outlet “on” and “off.” (’570 patent at 3:35-47.)4 It goes

without saying that in order to charge an electric vehicle, there has to be an electrical outlet to

plug the car into. The purported invention is using the network to turn this electrical outlet “on”

and “off.” The specification is surprisingly short (see columns 1-11). Even a cursory review of

the patent figures, reveals that there is no cutting-edge technology in the Asserted Patents.

Figure 1, reproduced below, shows how simple the purported invention is:




4
   For convenience, the specification cites are to the ’570 patent. While the column and line
numbers may differ slightly in the other patents, the corresponding text is the same, because the
Asserted Patents all share the same specification.


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(’570 patent, Fig. 1 (highlighting added).) In Figure 1, the electrical outlet (see reference

numeral 112, highlighted yellow) is connected to a power grid (see 120, highlighted red). Like

all functional electrical outlets there is an electric power line (see 170) running from the power

grid to the electrical outlet. At the bottom of Figure 1, there is another electrical power line 175

and another electrical outlet 152. This is merely the power cord that runs from the electrical

outlet to the electric vehicle 150. Of course, it is quite common to plug power cords into

electrical outlets.

        The only purported invention is using the Internet to turn this electrical outlet “on” and

“off” remotely. There is a data control unit 130 (highlighted green) that communicates with a

remote server 140 (highlighted blue) via a wide area network (e.g., the Internet). The Asserted

Patents do not disclose any specific structure or technology for the data control unit or the server.

It is telling that these elements are shown as non-descript rectangles, i.e., “black boxes,” in

Figure 1. The data control unit 130 communicates with a controller at the outlet to turn it “on”

and “off.”

        For the bulk of the Asserted Claims, Figure 1 is all you need to understand the alleged

invention. Figure 2 is substantially similar to Figure 1. (’570 patent, Fig. 2.) The only

difference is that in Figure 2, the data control unit 130 has been replaced by a payment station

135. (’570 patent at 6:54.) This payment station is not, however, recited in any of the Asserted

Claims.

        Moving onto Figure 3, the controller at the electrical outlet is shown in slightly more

detail, but still only provides high level descriptions using black boxes:




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(’570 patent, Fig. 3 (highlighting added).) Like before, there is an electrical outlet (see 112,

yellow) that is connected to a power grid (see power line 170). The controller turns the electrical

outlet “on” and “off” by using a switch (see 171, yellow). The switch in the Asserted Patents

does the same thing that any other switch would do—it turns the power “on” and “off.”

Switches have been used since designing electrical circuits in the early 19th Century. For

example, Guglielmo Marconi’s patent on the radio, issued on July 13, 1897, describes

“switch[ing]” a receiver connection to a circuit on and off. (Ex. 1, U.S. Patent No. 586,193 at

5:18-22.) There is also a current measuring device (see 172, yellow). (’570 patent at 7:45-55.)

Like any power meter, this measuring device measures the amount of current that passes through

the electrical outlet to the electric vehicle. (Id.) Finally, the controller has a transceiver (see 181,

yellow) that can communicate with the data control unit (shown in Fig. 1). (Id. at 8:13-21.)

       B.       The Asserted Claims

       All of the Asserted Claims have the same basic elements, which were seen in Figure 1


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above (e.g., a controller, a data control unit, and a remote server). Stripped of their technical

jargon, the Asserted Claims amount to nothing more than using a network (e.g., the Internet) to

remotely turn an electrical outlet “on” and “off.”

               1.      ’715 Patent, Claims 1-2

       Independent claim 1 of the ’715 patent is directed to a non-descript “apparatus” (see

[1A]) and recites:

       [1A]    An apparatus, comprising:

       [1B]    a control device to turn electric supply on and off to enable and disable
               charge transfer for electric vehicles;

       [1C]    a transceiver to communicate requests for charge transfer with a remote
               server and receive communications from the remote server via a data
               control unit that is connected to the remote server through a wide area
               network; and

       [1D]    a controller, coupled with the control device and the transceiver, to cause
               the control device to turn the electric supply on based on communication
               from the remote server.

       ChargePoint contends that the claimed “control device” (see [1B]) is any component

capable of “turn[ing] electric supply on and off”—something even common household items,

such as light switches, are capable of performing.       ChargePoint’s infringement allegations

contend that the limitation must be met because the Accused Products are capable of “switching”

between an “on” and an “off” state—as long as a device is capable of switching between an “on”

and “off” state, it satisfies this claim limitation, according to ChargePoint. (See Dkt. 1 at 18.)

Moreover, the specification confirms that even non-networked charging stations from the 1990s

had a switch. (See Dkt. 2-3 ¶ 5.) For example, the “Background of the Invention” explains that

a user could control when an electrical vehicle was being charged, which means there had to be a

switch in the prior art. (See ’570 patent at 1:22-24.)

       ChargePoint contends that the claimed “transceiver” (see [1C]) is any “device that both


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sends and receives signals” from a remote server. Based on this understanding, the “transceiver”

could be any one of a number of commercially available transceivers. (See id. at 8:13-36

(identifying “Wi-Fi®,” “BlueTooth®,” “ZigBee®,” and “FasTrak®” transceivers).) Tellingly,

ChargePoint alleges that the Accused Products meet this limitation (including its recitation of

“via a data control unit”), regardless of what type of transceiver it uses, by “send[ing] and

receiv[ing] important energy usage information.” (See Dkt. 1 at 18.) Based on ChargePoint’s

contentions, this limitation covers all forms of transceivers for network connectivity.

       ChargePoint contends that the claimed “controller” (see [1D]) merely “cause[s] the

control device to turn the electric supply on based on communication from the remote server.”

ChargePoint’s infringement allegations contend that the “controller” limitation is met by any

component capable of using the information received by the claimed “transceiver,” which

presumably includes a generic processor or generic computer that can communicate with a

remote server. (See Dkt. 18-19.)

       Therefore, claim 1 includes only three components: (1) a switch for turning an electric

supply “on” and “off,” which existed in well-known electric vehicle charging stations; (2) the

ability to communicate with a remote server using any possible means; and (3) an instruction to

turn the switch “on” and “off” using the remote server.

       Claim 2 of the ’715 patent further requires “an electrical coupler,” but (as revealed by

claim 3 and ChargePoint’s infringement allegations) that is nothing more than just “an outlet.”

Even the larger “electrical receptacle,” which allows an electric vehicle to connect to a charging

station, is well-known and standardized technology. (See ’570 patent at 5:63-66 (“Examples of

suitable receptacles are those conforming to the NEMA (National Electrical Manufacturers

Association) standards 5-15, 5-20 and 14-50.”).)




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                2.      Claims 1 and 8 of the ’131 Patent

        Claim 1 of the ’131 patent is virtually identical to claim 1 of the ’715 patent. Claim 1 of

the ’131 patent includes the same three components discussed above for claim 1 of the ’715

patent: (1) a switch for turning an electric supply “on” and “off,” which existed in well-known

electric vehicle charging stations; (2) the ability to communicate with a remote server using any

possible means; and (3) an instruction to turn the switch “on” and “off” using the remote server.

        Asserted dependent claim 8 further specifies that “the communications received as part of

the demand response system include power grid load data, and wherein the controller is further

to manage charge transfer based on the received power grid load data.” The ’131 patent,

therefore, only adds the concept of a “demand response system,” which, according to

ChargePoint, is met by taking demand into consideration when deciding how much to charge

customers. (See ’570 patent at 1:45-58 (“Demand Response may also be used to increase

demand at times of high electricity production. For example, the cost of electricity may be

reduced during periods of low demand.”); Dkt. 2-1 at 6 (quote article describing ChargePoint’s

practice of “charg[ing] a premium for tapping into the grid during peak demand times”).)

ChargePoint contends that merely controlling the source of the electricity constitutes a “demand

response system.” (See Dkt. 1 at 21.) This “demand response system” could, therefore, be any

generic processor or computer that is capable of calculating how much to charge customers or

selecting an electricity supplier.

                3.      Claims 1 and 2 of the ’967 Patent

        Claims 1 and 2 of the ’967 patent are substantively identical to claim 1 of the ’131 patent,

but are phrased as “[a] method in a server” that “determin[es] whether to enable charge transfer”

(claim 1) such as by first “validating a payment source for the charge transfer” (claim 2).




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               4.      Claims 31 and 32 of the ’570 Patent

       Claim 31 of the ’570 patent may appear to be the most technical, but stripped of technical

jargon it is actually broader than even claim 1 of the ’715 patent. Claim 31 of the ’570 patent is

substantively identical to claim 1 of the ’715 patent—it requires a “server,” “a data control unit

connected to a wide area network for access to said server,” “a controller” that controls the

energy transfer, and a “transceiver” that connects the “controller” to the “data control unit” (and

from there to the “server”).5 Unlike claim 1 of the ’715 patent, claim 31 of the ’570 patent is

broader when it comes to the allegedly novel concept of connecting a charging station to a

network, since it does not require that the charging station is in any way controlled by the remote

“server”; instead, merely having a connection to such a server for any purpose appears to satisfy

those claim limitations. Other claim limitations, such as the “electrical receptacle,” the “electric

power line,” and the “current measuring device” have no relation to the alleged novelty of a

“network connected electric vehicle charging station,” and are instead found even in non-

networked electric vehicle charging stations that have existed for many years. (See Dkt. 2-3 ¶ 5.)

       Moreover, ChargePoint alleges that the “communication device” limitation is met merely

by “enabl[ing] a connection between a charging station and the mobile wireless communication

device of an operator of an electric vehicle being charged,” regardless of how that connection is

established or what information is exchanged over that connection, and thereby appears to

conflate it with the “transceiver” limitation, which ChargePoint alleges is similarly met by

“send[ing] and receiv[ing] important energy use information.”            (See Dkt. 1 at 14-15.)

Accordingly, while the additional limitations of claim 31 of the ’570 patent may sound technical,

ChargePoint contends that they either refer to generic components of an electric vehicle charging


5
    Asserted claim 32 of the ’570 patent only adds that the “wide area network is the Internet.”


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station or are broad enough to render them duplicative of other limitations, and thus do not add

anything inventive to the claim.

               5.      Representative Claim

       In the briefing below, SemaConnect uses claim 1 of the ’715 patent as representative of

the other claims, because, as explained above, the Asserted Claims are substantially similar. See

Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348

(Fed. Cir. 2014) (approving use of a representative claim in § 101 analysis if the various claims

are “substantially similar”). While the claims vary slightly in the specific components claimed

(as explained above), each of these additional components are further abstract concepts that

cannot render them patent eligible. See NexusCard, Inc. v. Kroger Co., 173 F. Supp. 3d 462, 467

(E.D. Tex. 2016) (“[T]he Court finds that describing two abstract ideas in connection with each

other—’collecting customer information’ and ‘membership discount programs’—does not cause

either abstract idea to then become a concrete thing”). Accordingly, for the same reasons

described below for why claim 1 of the ’715 patent is directed to patent ineligible subject matter,

all the Asserted Claims are directed to patent ineligible subject matter.

       C.      The Prior Art

       ChargePoint does not claim to have invented “electric vehicles,” “charging stations,” or

the “network.” Instead, ChargePoint’s alleged invention was simply to use the network to turn

the outlet at the charging station “on” and “off.” One of the named inventors, David Baxter,

readily admitted as much: “Prior to their invention by ChargePoint (then Coulomb) there were

no networked electric vehicle charging stations, although non-networked electric vehicle

charging stations had existed for many years.” (See Dkt. 2-3 ¶ 5 (emphasis added).)

       The fact that non-networked electric vehicle charging stations had existed for many years

prior to the Asserted Patents is also confirmed by the prosecution history of the Asserted Patents.


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For example, the Patent Office initially rejected the claims of the ’715 patent as anticipated by

the prior art, but allowed the claims after they were amended to specify that the claimed

“apparatus” was “connected to the remote server through a wide area network.” (Ex. 2 (’715

File History, Amendment (Oct. 11, 2011)) at 3.) Similarly, the ’131 patent was allowed because

the Examiner found that the art of record did not disclose using a remote server to modify the

application of charge transfer. (Ex. 3 (’131 File History, Notice of Allowability (Sept. 19, 2012))

at 2.)6

          Mr. Baxter, one of the named inventors of the Asserted Patents, readily admitted that his

claimed invention does not lead to a technological improvement of an electric vehicle charging

station by (for example) making the charging faster, but instead he claims that the alleged

invention provides business features consumers or service providers may find desirable, such as

“circuit and grid load management capabilities,” “remote monitoring and diagnostics,” “a

method to pay for services at disparate locations,” and “the ability to implement access control

and navigation services.” (Dkt. 2-3 ¶ 5.) The fact that the claimed invention of the Asserted

Patents offers business and not technical benefits is further confirmed by the alleged “praise”

touted by ChargePoint in its TRO motion, which explains that ChargePoint “envision[s] a

subscription model that would charge a premium for tapping into the grid during peak demand

times.” (Dkt. 2-1 at 6.)


6
     The ’570 patent was allowed on its first action because “[t]he prior art made of record fails to
disclose or suggest a network-controlled charge transfer device having, among other claimed
allowable features, [a] controller [that] manages charger transfer based on . . . power grid load
data available from the remote server and where the transfer is in either direction between the
local power grid and the vehicle; and possibly access a payment station.” (Ex. 4 (’570 File
History, Notice of Allowability (Jan. 21, 2011)) at 2.) None of these limitations, however, are
found in claim 31 or 32 asserted by ChargePoint in this case. The ’967 patent was allowed after
the Applicants amended the claims to overcome an obviousness-type double patenting rejection
in light of the ’570 patent. (Ex. 5 (’967 File History, Amendment (Dec. 24, 2012)) at 2, 7.)


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       The prior art demonstrates that ChargePoint did not even invent the abstract idea of

turning an electric switch “on” and “off” using a network. (See Dkt. 2-3 ¶ 5.) For decades,

charging stations have (for example) allowed customers to pay by credit card and would use a

network to verify and process such credit card payments, turning a charging station “on” only if

the network verified the credit card. For example, U.S. Patent No. 6,081,205 (“the Williams

patent”),7 whose application was filed in 1992 and which issued in 2000, discloses a network

connected electric car battery recharging station. (Ex. 6 (the Williams patent) at 1:10-15.) The

Williams patent confirms that network connected electric vehicle charging stations have existed

since at least the 1990s. The Williams patent discloses all the limitations of claim 1 of the ’715

patent (under ChargePoint’s claim interpretation):

          Claim 1 of the ’715 Patent                                Williams Patent

An apparatus, comprising:                            Williams discloses “an electric car battery
                                                     recharging station.” (Id. at 1:10-15.)

a control device to turn electric supply on and Williams discloses a “switch” that controls the
off to enable and disable charge transfer for flow of power from a power source to an
electric vehicles;                              electric vehicle. (Id. at 4:42-46.)

a transceiver to communicate requests for            The      Williams      patent    discloses   “a
charge transfer with a remote server and receive     communications link” that communicates with
communications from the remote server via a          “a central clearing computer” to request
data control unit that is connected to the remote    verification of credit card information. (Id. at
server through a wide area network; and              3:55-63.)


7
    The Williams patent was cited on the face of the Asserted Patents, and therefore, is part of
the intrinsic record and can properly be considered even on a Rule 12(b)(6) motion to dismiss.
See Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905, 912-13 (Fed. Cir. 2017)
(“[T]his court has determined claims to be patent-ineligible at the motion to dismiss stage based
on intrinsic evidence from the specification without need for ‘extraneous fact finding outside the
record.’”); V-Formation, Inc. v. Benetton Group SpA, 401 F.3d 1307, 1311 (Fed. Cir. 2005)
(“The Meibock patent is prior art that was listed as a reference on the face of the ’466 patent and
in an Information Disclosure Statement. This prior art reference to Meibock is not extrinsic
evidence. This court has established that ‘prior art cited in a patent or cited in the prosecution
history of the patent constitutes intrinsic evidence.’”).


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          Claim 1 of the ’715 Patent                               Williams Patent

a controller, coupled with the control device and    Williams discloses a “processor” that receives
the transceiver, to cause the control device to      information back from the central clearing
turn the electric supply on based on                 computer and then “sends appropriate signals
communication from the remote server.                to various switches to turn on or turn off
                                                     electric power.” (Id. at 3:55-63, 4:11-17.)

       The “recharging station” described in the Williams patent also includes all of the other,

non-network related components required by even claim 31 of the ’570 patent, such as “an

electrical receptacle configured to receive an electrical connector for recharging an electric

vehicle,” “an electric power line connecting said receptacle to a local power grid,” “a control

device on said electric power line, for switching said receptacle on and off,” “a current

measuring device on said electric power line, for measuring current flowing through said

receptacle,” and “a controller configured to operate said control device and to monitor the output

from said current measuring device.” (See, e.g., id. at FIG. 2 (annotated).)




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       As another example, WO2007141543 (“the Taylor-Haw patent”) to Elektromotive,8

which was published on June 8, 2007, discloses a charging station that can be connected to a data

network that can receive and transmit data over a network such as “(i) customer identification

data; (ii) customer account data, such as the credit that the customer currently has in an account;

(iii) the start time and end time that the charging station was used by a customer; (iv) the period

of time that the charging station was used by a customer; (v) the date; (vi) the total electricity

consumed during a charging cycle; and/or (vii) vehicle registration details.” (Ex. 7 (the Taylor-

Haw patent) at 4:3-14.) This may be accomplished using networks, such as “a GSM module

[that] communicate[s] with an external computer” in addition to a transmitter/receiver that

communicates with an RFID tag. (Id. at 13:5-11, 18:3-6.) The “GSM module” also controls

“access to use the site” by allowing “a user [to] send[] a text to the number shown on the unit” in

order “for the power that they use [to be charged] to their mobile phone.” (Id. at 18:13-18.)

Finally, the Taylor-Haw patent’s “charging station” could also “allow users to access the

internet” and/or “enable electronic or digital communication with the vehicle being charged.”

(Id. at 19:28-32.)

       A third example of a prior art patent that anticipates and/or renders obvious the subject

matter of the Asserted Patents is U.S. Patent App. Pub. No. 2009/0021213 (“the Johnson patent

publication”).9 The Johnson patent publication discloses a pay-per-use, self-service charging

station for electric vehicles that uses the Internet to verify a customer’s credit card information

with a remote banking service. (Ex. 8 (the Johnson patent publication) at Abstract, ¶ 54.) If the

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   The Taylor-Haw patent is also part of the intrinsic evidence and accordingly can be
considered when deciding a Rule 12(b)(6) motion to dismiss.
9
    Since patents and patent application publications are government records, this Court may
take judicial notice of them when deciding this Motion to Dismiss. See B.H. Papsan v. Allain,
478 U.S. 265, 268 n.1 (1986) (“[W]e are not precluded in our review of the complaint from
taking notice of items in the public record.”).


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banking service rejects the sale, the charging stations displays a rejection message; if the banking

service authorizes the sales, the charging station’s CPU closes a series of relays and switches and

thereby provides an electric supply to the vehicle being charged (remotely switching charging to

“on”). (Id. at ¶¶ 95-96, 107.) The charging station’s CPU also monitors a digital meter and

disconnects the vehicle from the electric supply once the amount of power requested by the

customer has been transferred to the vehicle (remotely switching charging to “off”). (Id. at ¶

110.) The Johnson patent publication further discloses that the charging stations take power

demand into consideration by locally storing electricity during off-peak hours for later use. (Id.

at ¶ 52.) Finally, the Patent Office did not consider the Johnson patent publication during

prosecution of the Asserted Patents. Had the Patent Office been aware of the Johnson patent

publication, it would never have allowed the Asserted Patents to issue.10

       In addition to the art mentioned above, some prior art charging stations made even more

extensive use of a network connection than ChargePoint’s alleged “invention.” For example,

already in 2006, AeroVironment’s PosiNET “link[ed] all fast chargers together into a single

network” and thereby allowed an operator to remotely monitor its entire fleet of electric vehicles.

(See Ex. 9 (AeroVironment, Inc., “PosiNET: Fleet Performance Management for your Fast-

Charged Vehicles” (2006)).)11

III.   APPLICABLE LAW

       A.      Patent Eligibility Is Properly Decided Upon a Motion To Dismiss

       Patent eligibility under 35 U.S.C. § 101 is a “threshold question” that should be answered

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    SemaConnect intends to pursue an inequitable conduct defense based on the named
inventors’ failure to disclose the Johnson patent publication to the Patent Office during the
prosecution of the Asserted Patents.
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    For a list of additional prior art that SemaConnect may use to show that the Asserted Claims
are invalid alone or in combination, please see SemaConnect’s Identification of Noninfringement
Defenses filed concurrently.


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early in a case. See Bilski v. Kappos, 561 U.S. 593, 602 (2010). In addition, patent eligibility is

an issue of law. See Intellectual Ventures I LLC v. Erie Indemnity Co., 850 F.3d 1315, 1319

(Fed. Cir. 2017). In light of these circumstances, claim construction or an extensive factual

record is not required before ruling on a motion to dismiss under § 101. See Content Extraction

& Transmission, 776 F.3d at 1349; Morales v. Square, Inc., 75 F. Supp. 3d 716, 721-22 (W.D.

Tex. 2014) (“Given the absence of [any] dispute [requiring resolution] and the ‘salutary effects’

of addressing § 101 at the outset of litigation, the Court finds that neither separate claim

construction proceedings nor further development of the factual record is required before

addressing the § 101 issue.” (internal citations omitted)) aff’d 621 F. App’x 660 (Fed. Cir. 2015);

Lumen View Tech. LLC v. Findthebest.com, Inc., 984 F. Supp. 2d 189, 205 (S.D.N.Y. 2013)

(“[T]he Federal Circuit has said that conducting a claim construction analysis before addressing

§ 101 is not required.” (quotation marks omitted)).

       Indeed, the Federal Circuit frequently affirms patent ineligibility at the pleading stage.

See, e.g., Content Extraction & Transmission, 776 F.3d at 1347-49 (affirming lower court

holding that abstract software claims were unpatentable at the pleading stage under Rule

12(b)(6)); Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 717 (Fed. Cir. 2014) (same). Judge

Mayer, has even issued opinions “commend[ing]” district courts’ “adherence to the Supreme

Court’s instruction that patent eligibility is a ‘threshold’ issue.” OIP Techs., Inc. v. Amazon.com,

Inc., 788 F.3d 1359, 1364-65 (Fed. Cir. 2015) (Mayer, J., concurring); see also I/P Engine, Inc.

v. AOL, Inc., 576 Fed. App’x 982, 996 (Fed. Cir. 2014) (Mayer, J., concurring) (discussing the

“clear advantages” of addressing section 101 requirements at the outset of litigation). The

benefits in terms of conservation of judicial resources that flow from deciding this threshold

issue now are self-evident, especially in light of the mandate of Fed. R. Civ. P. 1 for a just,




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speedy, and inexpensive resolution.

       Here, in ChargePoint’s own words, the eight asserted claims “use plain and ordinary

language” and have “no terms that require construction.” (Dkt. 7-1 at 15-17, 19.) ChargePoint

has thereby admitted that the main reason courts occasionally delay ruling on a § 101 motion—

the need to construe the asserted claims—is not applicable here. The Asserted Claims are all

invalid using ChargePoint’s own interpretation of the claims, as set forth in their infringement

allegations in the Complaint.12 (See Dkt. 1 at 11-15, 18-19, 21-22, 24-26.) Accordingly, there is

no reason for the Court to delay resolving the “threshold question” of whether ChargePoint’s

Asserted Patents are even patent eligible. By addressing this issue now, the Court can conserve

party and judicial resources that would otherwise be spent on protracted litigation.

       B.      The Post-Alice Legal Standard for Patent Eligibility

       To be subject matter eligible for patenting, a patent must claim a “new and useful

process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Excluded from the

scope of patentable inventions are “[l]aws of nature, natural phenomena, and abstract ideas,”

because they “are the basic tools of scientific and technological work.” Alice Corp. Pty. Ltd. v.

CLS Bank Int’l, 134 S. Ct. 2347, 2354 (2014) (internal quotation marks omitted). As the

Supreme Court observed, allowing a patent holder to broadly preempt other applications of an

abstract idea within a particular technological environment “might tend to impede innovation

more than it would tend to promote it, thereby thwarting the primary object of the patent laws.”

Id. at 2354. For example, in the context of a power grid, “[g]ranting a monopoly on a particular

method for simultaneously monitoring data from multiple power grid operators would

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   For purposes of this Motion, given that it is being brought at the pleadings stage,
SemaConnect is applying ChargePoint’s apparent interpretation of the scope of the Asserted
Claims. If the Court denies SemaConnect’s Motion and fact discovery commences in earnest,
SemaConnect reserves the right to pursue alternative constructions.


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incentivize further innovation in the form of alternative methods for achieving the same result,”

whereas granting a patent on the general concept, such as on any type of power grid monitoring

“inhibits innovation by prohibiting other inventors from developing their own solutions to the

problem without first licensing the abstract idea.” See Electric Power Group, LLC v. Alstom,

S.A., No. CV 12-06365-JGB (RZx), 2015 WL 12720309, at *7 (C.D. Cal. May 21, 2015), cited

with approval in 830 F.3d 1350, 1356 (Fed. Cir. 2016). To determine patent eligibility under 35

U.S.C. §101, Alice sets forth a two-step test.

       Under Alice Step One, the Court must determine whether the claims at issue are directed

to an abstract idea or other patent-ineligible concept. Alice, 134 S. Ct. at 2355. Here, the

identification of abstract ideas can be facilitated by “contrast[ing] claims ‘directed to an

improvement in the functioning of a computer’ with claims ‘simply adding conventional

components to well-known business practices.’” In re TLI Commc’ns, 823 F.3d 607, 612 (Fed.

Cir. 2016) (emphasis added). For example, the Federal Circuit has found processing a car loan

application using a remote server (Credit Acceptance Corp., 859 F.3d at 1047), a device for

controlling access to a transit system (i.e., a turnstile) using a network connection (Smart Sys.

Innovations, 873 F.3d at 1368-69), or remotely monitoring a power grid (Electric Power Group,

830 F.3d at 1354) are all directed to patent ineligible abstract ideas.

       Under Alice Step Two, if a patent claims an abstract idea, the court must consider

whether the claims include additional elements, i.e., an inventive concept, sufficient to

“‘transform the nature of the claim’ into a patent-eligible application.” Alice, 134 S. Ct. at 2350

(quoting Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 72-73 (2012)). An

inventive concept cannot be supplied by limiting an abstract idea “to a particular technological

environment” or adding “well-understood, routine, conventional activities previously known to




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the industry.” Id. at 2358-59 (internal quotation marks omitted). Instead, the asserted claims

must “describe[] how [their] particular arrangement of elements is a technical improvement over

prior art ways of” accomplishing the abstract ideas identified in step one of the Alice framework.

Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016)

(emphasis added).

       Accordingly, simply using generic technology “does not alter the analysis” in step two of

the Alice inquiry, even if that technology is embodied in a tangible form. For example, “the

mere recitation of a generic computer cannot transform a patent-ineligible abstract idea into a

patent-eligible invention.” Alice, 134 S. Ct. at 2357-58. Similarly, “merely disclos[ing] the use

of generic computer network technology to achieve an online variation of a well-established,

real-world practice” does not transform an abstract idea into a patent-eligible invention.

Intellectual Ventures I LLC v. J. Crew Group, Inc., No. 6:16-CV-196-JRG, 2016 WL 4591794,

at *4 (E.D. Tex. Aug. 24, 2016); see also buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355

(Fed. Cir. 2014) (“That a computer receives and sends the information over a network—with no

further specification—is not even arguably inventive.”).

IV.    THE ASSERTED CLAIMS ARE INVALID UNDER § 101

       The Asserted Claims are invalid because they fail the two-step Alice framework. The

Asserted Claims are directed to the unpatentable abstract idea of turning a switch “on” and “off.”

Moreover, as one of the named inventors of the Asserted Patents admitted, Asserted Patents only

add network connectivity to already existing electric vehicle charging stations. (See Dkt. 7-3 ¶

5.) But, as reflected in the Patent Office’s 2015 patent examination guidelines, “receiving or

transmitting data over a network, e.g., using the Internet to gather data” is presumptively

insufficient to confer patent eligibility onto an abstract idea. (Ex. 10 at 7.)




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       A.      The Asserted Claims Fail Alice’s Step One

               1.      The Asserted Claims are Directed to the Abstract Idea of Turning a
                       Switch “On” and “Off”

       Each of the Asserted Claims is directed to the abstract idea of turning a switch “on” and

“off.” This idea is both a routine task (humans have been flipping light switches for well over a

century) and a business practice (controlling customer access to a good). The Patent Office’s

2015 patent examination guidelines and similar claims from analogous cases prove that this is

not patentable subject matter.

       In its guidelines, the Patent Office identifies managing “transactions between people” as

abstract ideas. (Ex. 10 at 4.) The Asserted Claims fall squarely within this identified abstract

idea. Each Asserted Claim is directed to a routine task of running an electric vehicle charging

station and turning the electric supply “on” and “off” via a remote server to allow a customer to

charge his electrical vehicle, creating a transaction between the station owner and the customer.

As demonstrated by the cases cited in the Patent Office’s examination guidelines (Ex. 10 at 4),

such as Dealertrack, Inc. v. Huber, 674 F.3d 1315 (Fed. Cir. 2012) and buySAFE, Inc. v. Google,

Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014), combining a routine task with references to a server,

network, or even the Internet results in an abstract idea. (See Ex. 10 at 4.)

       In Dealertrack, the claims at issue were directed to the computer that received credit

applications from customer computers and coordinated with computers of a credit bureau and a

lender to process the credit application.      674 F.3d at 1319.      Notwithstanding the claims’

recitation of “a central processor,” “communications medium,” and multiple, different

“terminal[s],” the Federal Circuit nonetheless found that the claims were directed to “the basic

concept of processing information through a clearinghouse.” Id. at 1333. Here, too, the claimed

“remote server” does not alter the conclusion that the Asserted Claims are directed to the basic



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and routine task of turning a charging station “on” and “off.” The “remote server” is just a

conduit to turn a charging station “on” and “off,” so a customer can charge his electric vehicle.

        In buySAFE, the Federal Circuit invalidated claims directed to using computers to close

an “online commercial transaction.” 765 F.3d at 1352. The buySAFE claims were, therefore,

inherently “online.” The Federal Circuit concluded that “[t]he claims in this case do not push or

even test the boundaries of the Supreme Court precedents under section 101” and are instead

directed to a patent ineligible transaction, since the claim limitation of “online transactions” was

at best a reference to a field of use, which cannot confer patent eligibility. Id. at 1354-55.

Accordingly, buySAFE indicates that performing a simple transaction (in the case of the Asserted

Patents, turning an outlet “on” and “off” based on a customer request) using a network (e.g., the

Internet) still results in an abstract idea.

        More recent 101 decisions, also confirm that performing such a routine task using a

network is an abstract idea. When deciding whether a claim is directed to an abstract idea, it is

important to compare the asserted claims to claims that other courts have previously adjudicated.

See In re Chromar, 656 F. App’x 1016, 1019 (Fed. Cir. 2016) (“[I]t is sufficient to compare

claims at issue to those claims already found to be directed to an abstract idea in previous

cases.”) (quotation marks omitted); see also McRO, Inc. v. Naughty Dog, Inc., 49 F. Supp. 3d

669, 675 (C.D. Cal. 2014) (Wu, J.) (noting that “comparisons to previously adjudicated

patents—or more precisely, to past cases’ characterizations of those patents—have done the

heavy lifting” in the Section 101 analysis).

        For example, in Credit Acceptance Corp., the Federal Circuit found that a patent on using

a server that communicates with a user terminal over a network to facilitate a car sale was patent

ineligible. 859 F.3d 1044, 1047 (Fed. Cir. 2017). Specifically, the Federal Circuit concluded




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that, notwithstanding the claimed “server” and “network,” the patent was directed to the abstract

idea of processing an application for financing as part of a purchase. Id. at 1054. In fact, the

Federal Circuit expressly held that introducing “communication between previously unconnected

system” did not make the claims any less abstract. Id. 1055. This is the exact situation we face

here—one of the Asserted Patent’s named inventors admitted that the claimed invention merely

added a server connection to a previously known transaction (turning on and off an electric

supply to charge a vehicle) performed with a previously unconnected electric vehicle charging

station. (See Dkt. 2-3 ¶ 5 (“Prior to their invention by ChargePoint (then Coulomb) there were

no networked electric vehicle charging stations, although non-networked electric vehicle

charging stations had existed for many years.”).) Just like in Credit Acceptance Corp., using a

server to turn an electric supply on and off instead of making that determination at the charging

station does not render the underlying transaction any less abstract.

       The Federal Circuit has previously found patent ineligible claims directed to similar

subject matter as the Asserted Claims.       In Smart Systems Innovations, the Federal Circuit

invalidated patents directed to using a networked connected “bankcard verification system” to

grant or deny access to a transit system. 873 F.3d at 1368-69 (Fed. Cir. 2017). (See Ex. 11 (U.S.

Patent No. 7,566,003) at 9:28-29, 10:52-56 (explaining that the claimed system communicated

with the “bankcard verification system” through “an Ethernet connection to the Internet”).)

Claim 1 of the ’715 patent is similar to the invalided claims at issue in Smart Systems—both

claim 1 of the ’715 patent and the claims in Smart Systems grant or deny access to a good or

service (“transit system” in Smart Systems; “electric supply” in the ’715 patent) and do so using

generic hardware components (“bankcard reader” in Smart Systems; “control device” in the ’715

patent) and by communicating with a remote entity (“bankcard verification system” in Smart




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Systems; “remote server” in the ’715 patent). The Federal Circuit found that the patents at issue

in Smart Systems were directed to an abstract idea because they claimed the formulation of

financial transactions and not “a new type of bankcard, turnstile, or database”—there was no

technological improvement. Id. at 1372. Claim 1 of the ’715 patent is directed to an abstract

idea for the same reasons—it does not claim a new or technologically improved electric vehicle

charging station (as the inventor himself admitted), and instead covers the abstract idea of

controlling access to the station’s electric supply using a remote server.

       The Asserted Patents are distinguishable from patents that the Federal Circuit recently

concluded were subject matter eligible, including in Enfish, LLC v. Microsoft Corp, 822 F.3d

1327, 1330 (Fed. Cir. 2016) and McRO, Inc. v. Bandai Namco Games Am. Inc., No. 2015-1080,

2016 WL 4896481, at *1 (Fed. Cir. Sept. 13, 2016).13 In these cases, the Federal Circuit found

that claims were “directed to an improvement in the functioning of a computer,” rather than

“simply adding conventional components to well-known business practices,” as is the case here.

TLI Commc’ns, 823 F.3d at 612. More specifically, the Asserted Patents are not directed to

improving the functioning of either the electric vehicle charging station or the remote server, but

instead describe turning an electric station “on” or “off” from a remote server—an arrangement

that allows a business to exercise control over its charging station and maximize revenue, i.e., a

“well-known business practice[].” Id.

       Further, unlike in Enfish and McRO, the Asserted Patents make clear that they are

concerned with customer convenience and maximizing revenue by allowing a charging station

operator to exercise control over the station, which are business concepts, and not directed to


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    As explained below in connection with step two, the Federal Circuit’s DDR Holdings, LLC v.
Hotels.com, L.P., 773 F.3d 1245 (Fed. Cir. 2014), which courts occasionally also consider as part
of step one of the Alice framework, is equally distinguishable.


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improving the technical functioning of the underlying machines.        As the Asserted Patents’

specification explains, “[a]n important part of any consumer experience is the ease of acquiring a

product—to recharge an electric vehicle this entails finding an available recharging facility,

controlling the facility, and paying for the electricity consumed.” (’570 patent at 1:34-40.) As

revealed by ChargePoint’s TRO motion, however, the primary goal of the claimed invention is to

leverage this control to maximize revenue through ChargePoint’s “subscription model [that]

charge[s] a premium for tapping into the grid during peak demand times.” Dkt. 2-1 at 6. The

Asserted Patents, therefore, do not claim any improvement to an electrical vehicle charging

station, and instead are directed to improving consumer convenience and maximizing revenue.14

The Asserted Patents provide “a business benefit rather than a benefit to the client server

environment itself.” See Uniloc USA, Inc. v. AVG Techs. USA, Inc., No. 16-CV-00393-RWS,

2017 WL 1154927, at *6 (E.D. Tex. Mar. 28, 2017).

       Accordingly, the Asserted Patents are directed to an abstract idea under Alice step one.

               2.     The Asserted Claims Preempt an Entire Industry

       That the Asserted Patents are directed to an abstract idea is further confirmed by

ChargePoint’s infringement allegations, which demonstrate that ChargePoint is attempting to


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    ChargePoint may attempt to characterize the benefits of the Asserted Patents as including
“managing local grid load.” (See Dkt. 7-1 at 5.) No such benefit, however, is apparent from the
actual language of the claims. Claims 1-2 of the ’715 patent and claims 31-32 of the ’570 patent
do not even mention a “demand response system.” And while claims 1 and 8 of the ’131 patent
and claims 1-2 of the ’967 patent require a “demand response system” or “power grid load data,”
these limitations are apparently met even if the “system” and “data” are used to maximize
revenue instead of improving the performance of the overall power grid. (Dkt. 7-1 at 11.)
Moreover, optimizing resource allocation is an economic/business concept, and not a
technological improvement, and applying that context to a power grid does not constitute an
inventive concept. See Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1354 (Fed.
Cir. 2016) (“[L]imiting the claims to the particular technological environment of power-grid
monitoring is, without more, insufficient to transform them into patent-eligible applications of
the abstract idea a their core.”).


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preempt all competition in network-connected electric vehicle charging stations using its patents.

See Alice, 134 S. Ct. at 2354.      The Supreme Court has explained that the concern about

preemption in its Section 101 jurisprudence “is a relative one: how much future innovation is

foreclosed relative to the contribution of the inventor.” Mayo, 566 U.S. at 88 (emphasis in

original).   The named inventor’s alleged “contribution” here is nothing but ChargePoint’s

(disputed) contention that it was the first to network a collection of well-known electric charging

stations to carry out the abstract idea of turning the charging stations “on” and “off.” Under

Mayo, any alleged “contribution” of the inventor here is outweighed by the impermissible

attempt to foreclose use of the network (e.g., the Internet) to remotely control electric charging

stations. ChargePoint’s infringement allegations demonstrate the preemptive expansiveness of

its claims. (Dkt. 1; Dkt. 7-3.)

        First, ChargePoint is accusing charging stations of infringement that have not even been

built. (Dec. 22, 2017 Hearing on Temporary Restraining Order Tr. at 4:12-20.) The fact that

ChargePoint somehow knows that non-existent charging stations—that have not even been built

yet—will inevitably infringe its patents alone demonstrates that the Asserted Patents are not

directed to any particular application of controlling a charging station using a remote server and

instead seek to monopolize the entire industry.

        Second, the main feature ChargePoint accuses of infringing claim 1 of the ’715 patent is

the accused product’s alleged “smart grid integration” which allows “chargers to operate with

more solar and wind energy as it comes onto the grid.” (Dkt. 1 at 18.) The specification for the

Asserted Patents, however, are entirely silent on the use of solar, wind, and other clean energy

sources, demonstrating that the inventors at the time of invention did not foresee that charging

stations might be able to use network connectivity to leverage newly available power sources.




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The claims are drafted so broadly and with such abstract language, that ChargePoint is using its

claims to read on the entire network-connected electric vehicle charging stations, even where

such invention was not contemplated. This further demonstrates that the Asserted Patents do not

claim actual inventions and instead are an improper attempt at stifling competition and

innovation in the field of electric vehicle charging stations.

       Third, ChargePoint’s infringement allegations do not specifically identify a single

hardware component—they do not name the make or model of one modem, chip, conductor,

switch, or outlet—in the accused products, but instead characterize the accused products entirely

based on their functionalities. (See Dkt. 1 at 11-15, 18-19, 21-22, 24-26.) This is because the

Asserted Patents do not claim any particular implementation, and instead attempt to preempt the

functionalities of a charging station (i.e., the underlying abstract ideas) themselves. Such broad,

functional claiming is further evidence that the Asserted Patents preempt an entire industry and

another tell-tale sign of a patent ineligible abstract idea. Intellectual Ventures I LLC v. Capital

One Financial Corp., 850 F.3d 1332, 1342 (affirming summary judgment of invalidity under

Section 101 because: “[T]he claim language here provides only a result-oriented solution, with

insufficient detail for how a computer accomplishes it. Our law demands more.”).

               3.      The Asserted Claims are Directed to an Abstract Idea Because They
                       Recite a Conventional Task that Could Be Performed by a Human

       The Asserted Claims recite a conventional task that could easily be performed by a

human. Stripped of their technical jargon, the claims are directed to merely turning the charging

station “on” and “off” remotely. This is exactly what gas stations have done for decades—add

energy back into a car by remotely turning the gas pump “on” and “off.” In the “old” days

before the prevalence of credit card readers, there was a gas station attendant that worked the

cash register and monitored the gas pumps from inside the store. A customer would pull his car



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to the gas pump; walk inside and pay the attendant; and then the attendant turned on the gas

pump remotely from the store for the pre-paid amount. If it was a neighborhood gas station

where the attendant knew the customer, maybe the customer could wave to the attendant without

pre-paying. At the end of the day, the attendant could flip a switch remotely from inside the

store to turn off all the pumps for the night.

       The attendant in this analogy is no different from the remote server in the Asserted

Claims, and the hardware that the attendant used to turn the pump on and off is no different from

the remaining limitations in the Asserted Claims. As shown by the following table, the Asserted

Claims are no different from a traditional gas station, and thus, are directed to an abstract idea.

      Claim 1 of the ’715 Patent                            Traditional Gas Station

1. An apparatus, comprising:                 Gas pumps are an apparatus that can be turned “on”
                                             and “off” by a gas station attendant.

a control device to turn electric supply     Gas pumps have a control device that is turned “on”
on and off to enable and disable charge      and “off” by the attendant.
transfer for electric vehicles;
                                             For example, the gas pump can be turned on when the
                                             customer pre-pays. The gas pump can be turned “on”
                                             when the attendant recognizes the customer. The gas
                                             pump can be turned “off” at the end of the day.

a transceiver to communicate requests        The customer communicates with the attendant to ask
for charge transfer with a remote server     him to turn the gas pump “on.” Maybe he pre-pays
and receive communications from the          and asks the attendant to turn “on” the pump for a
remote server via a data control unit        certain amount. Or maybe he just waves to the
that is connected to the remote server       attendant to turn the pump “on,” and then pays later.
through a wide area network; and             In response, the attendant turns the pump “on” from
                                             inside the store. In the pre-pay case, the attendant
                                             enters the amount that the customer pre-paid into a
                                             computer in the store. This computer transmits a
                                             signal to a computer in the gas pump. This signal
                                             turns the gas pump “on,” and then turns it “off” when
                                             the pre-paid amount is reached.15

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    According to ChargePoint’s interpretation of the claims, any form of communication meets
this limitation. (See Dkt. 1 at 18 (arguing that the “transceiver” limitation is met by “send[ing]


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        Claim 1 of the ’715 Patent                         Traditional Gas Station

a controller, coupled with the control     The computer in the gas pump turns the pump “on”
device and the transceiver, to cause the   and “off” based on the signal from inside the gas
control device to turn the electric        station.
supply on based on communication
from the remote server.

         Merely using a network to do what gas station attendants have done for decades, even if

now done in the context of electric charging, is not patentable. See, e.g., TLI Commc’ns, 823

F.3d at 612; Open Parking, LLC v. ParkMe, Inc., No. 2:15-cv-976, 2016 WL 3547957, at *9

(W.D. Penn. June 30, 2016) (“[T]he existence of a brick and mortar analog to the solution

[specified in the patent claims] will be fatal under § 101); Network Apparel Grp., LP v. Airwave

Networks Inc., No. 6:15-CV-00134, 2016 WL 4718428, at *6 (W.D. Tex. Mar. 30, 2016)

(finding that claims were patent ineligible because “the problem the [patent-at-issue] addresses . .

. did exist in the ‘brick and mortar’ context” and thus “longstanding practices to address this

problem predate the Internet”). Accordingly, the Asserted Claims are directed to an abstract

idea.

         B.     The Asserted Claims Fail Alice Step Two

                1.     The Asserted Patents Lack an Inventive Concept

         All of the claims of the Asserted Patents fail Alice step two because the claim elements

do not disclose an inventive concept sufficient to transform the abstract idea into a patent-eligible

application. Alice, 134 S. Ct. at 2355. “It is well-settled that mere recitation of concrete,

tangible components is insufficient to confer patent eligibility to an otherwise abstract idea.” TLI

Commc’ns, 823 F.3d at 613. Rather, “the components must involve more than performance of

well-understood, routine, conventional activities previously known to the industry.” Id., citing

and receiv[ing] important energy usage information”).) ChargePoint thereby appears to read the
“via a data control unit” limitation out of the claims.


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Alice, 134 S. Ct. at 2359 (internal quotations and punctuation omitted). Here, all the recited

claim elements, tangible and otherwise, are conventional and generic and thus present no

patentable inventive concept.

       First, the claims at issue recite various generic pieces of computer equipment found in

almost any modern system, such as one or more of a “control device” (i.e., the “on” and “off”

switch) “transceiver,” “server,” “controller,” and “communication device” for transmitting data

over a network (e.g., the Internet).     The Patent Office’s updated 2015 patent examination

guidelines, which requires “significantly more” than the recitation of generic computer

components (see Ex. 10 at 1-2), sets forth a list of elements that are well-understood, routine, and

conventional functions that fail Alice step two:

       For Step 2B, examiners should rely on what the courts have recognized, or those
       in the art would recognize, as elements that are well-understood, routine, and
       conventional functions when they are claimed in a merely generic manner:

          performing repetitive calculations,
          receiving, processing, and storing data,
          electronically scanning or extracting data from a physical document,
          electronic recordkeeping,
          automating mental tasks, and
          receiving or transmitting data over a network, e.g., using the Internet to
           gather data.

(Ex. 10 at 7 (footnotes omitted and emphasis added).) While some of the other examples may

also apply to the Asserted Claims, the last one (receiving or transmitting data over a network) is

directly on point, because it sets forth the exact function used in the claims. Based on the 2015

patent examination guidelines (which were published after the Asserted Patents issued), using a

remote server cannot transform the abstract idea of turning a switch “on” and “off” into a

patentable invention.

       The Federal Circuit has routinely found that generic communication and processing




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components, such as those recited by the Asserted Claims, cannot confer patent eligibility. See

TLI Commc’ns, 823 F.3d at 615 (affirming invalidity of claims utilizing computer components

which “behave exactly as expected according to their ordinary use”); Apple, Inc. v. Ameranth,

Inc., 842 F.3d 1229, 1241-43 (Fed. Cir. 2016) (finding that “the recited central processing unit,

data storage device, and operating system components” were merely “conventional computer

components” and therefore did not add an inventive concept); Mortg. Grader, Inc. v. First

Choice Loan Servs. Inc., 811 F.3d 1314, 1324-25 (Fed. Cir. 2016) (“No . . . inventive concept is

present here. Instead, the claims ‘add’ only generic computer components such as an ‘interface,’

‘network,’ and ‘database.’ These generic computer components do not satisfy the inventive

concept requirement.”); Vehicle Intelligence & Safety, LLC v. Mercedes-Benz USA, LLC, 635

Fed. App’x. 914, 915, 919 (Fed. Cir. 2015) (claimed “processor” was simply a “purely

conventional computer implementation” of claimed function). Indeed, given the ubiquity of

computers and computer networks today, these generic computer components do not provide any

meaningful limitation to the scope of ChargePoint’s alleged monopoly over the networked-

electric charging station.   See Alice, 134 S. Ct.. at 2358 (2014) (“Given the ubiquity of

computers, wholly generic computer implementation is not generally the sort of additional

feature that provides any practical assurance that the process is more than a drafting effort

designed to monopolize the abstract idea itself.”) (internal quotation marks and citation omitted).

       Second, the claims at issue recite various generic components found in every electrical

vehicle charging station, such as one or more of a “electrical coupler,” “electrical receptacle,”

“electric power line,” and “current measuring device.” As explained above, these components

were all found in previously known electric vehicle charging stations. (See Dkt. 2-3 ¶ 5 (“[N]on-

networked electric vehicle charging stations had existed for many years.”); Ex. 6 at Figure 2




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(patent from the mid 1990s that already discloses all components claimed by the Asserted

Patents).) Accordingly, these limitations at best confine the Asserted Patents to the technological

environment of electric charging stations, but still seek to monopolize the entire network-electric

charging station market. Under Supreme Court precedent, such an attempt at using patents on an

abstract idea to control an entire market is forbidden. See Alice, 134 S. Ct. at 2358 (“[T]he

prohibition against patenting abstract ideas cannot be circumvented by attempting to limit the use

of the idea to a particular technological environment.”) (internal quotation marks omitted); see

also Mayo, 566 U.S. at 88 (“[A]s we have previously pointed out, even a narrow law of nature

(such as the one before us) can inhibit future research.”).

       Moreover, the Supreme Court, Federal Circuit, and district courts throughout this country

have not hesitated to find physical components insufficient to confer patent eligibility onto an

abstract idea even if they were specialized for a particular technical field (such as the generic

charging station components of the Asserted Patents), because the resultant claims still

threatened to preempt use of the abstract idea in the entire field (networked-electric charging

stations). See, e.g., Parker v. Flook, 437 U.S. 584, 586 (1987) (finding that “the catalytic

chemical conversion of hydrocarbons” did not confer patent eligibility, since “there are

numerous processes of that kind in the petrochemical and oil-refining industries”); Electric

Power Group, 830 F.3d at 1351-52, 1354 (claiming “an interconnected electric power grid,”

“synchronized phasor measurements,” and “power grid vulnerability” did not confer patent

eligibility because it merely “limit[ed] the claims to the particular environment of power-grid

monitoring”); Groundswell Techs., Inc. v. Synapsense Corp., No. CV 15-06024-AB (JPRx),

2016 WL 6661177, at *8 (C.D. Cal. Apr. 28, 2016) (finding that “using generic sensors and

telemetry equipment to collect environmental data” does not confer patent eligibility).




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       Finally, the “ordered combination” of these claim elements fails to transform the abstract

ideas of the claims into patent-eligible applications.   The claim elements merely comprise

generic computer and charging station components performing their basic functions, and nothing

more. Thus, these claims are nothing like those held to provide an inventive concept in Amdocs

(Israel) Ltd. v. Openet Telecom. Inc., 841 F.3d 1288 (Fed. Cir. 2016), Bascom Global Internet

Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341 (Fed. Cir. 2016), and DDR Holdings, LLC v.

Hotels.com, L.P., 773 F.3d 1245 (Fed. Cir. 2014). In Amdocs, the Federal Circuit found the

claims at issue to be patent eligible, because, while the claimed solutions required “arguably

generic components,” they involved “an unconventional technological solution (enhancing data

in a distributed fashion) to a technological problem (massive record flows which previously

required massive databases)” and “depend[ed] upon the invention’s unique distributed

architecture.” 841 F.3d at 1301-03 (emphasis added). In Bascom, the Federal Circuit found that

the patent at issue claimed an “inventive concept . . . in the ordered combination of claim

limitations” because it “claimed a technology-based solution (not an abstract-idea-based

solution implemented with generic technical components in a conventional way) to filter content

on the Internet that overcomes existing problems with other Internet filtering systems.” 827 F.3d

at 1351-52 (emphasis added). In particular, the court in Bascom found that the patent did not

claim an abstract idea, but instead “describe[d] how its particular arrangement of elements is a

technical improvement over prior art ways of” accomplishing the abstract ideas identified above.

See Id. at 1351 (emphasis added). Finally, in DDR Holdings, the Federal Circuit found that the

asserted patent addressed a problem specific to the Internet—retaining website visitors on a

website. 773 F.3d at 1257. The Federal Circuit drew a careful distinction between the asserted

claims in DDR Holdings, which the court found were “necessarily rooted in computer




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technology in order to overcome a problem specifically arising in the realm of computer

networks,” and claims that “merely recite the performance of some business practice known

from the pre-Internet world along with the requirement to perform [them] on the Internet.” Id.

       Unlike the claims found patent eligible in Amdocs, Bascom, and DDR, the Asserted

Claims merely disclose generic computer and charging station components in a generic

arrangement being used precisely as they were designed, to perform a function that was well-

known in the computer arts.      They do not solve a technological problem, nor present a

technological solution or technical improvement over the prior art. First, as discussed above, the

problems purportedly addressed by the Asserted Patents—giving a charging station operator

additional control over the station—are commonly encountered in the context of operating even

a traditional gas station. Thus, the Asserted Patents do not solve a technological problem.

Second, the Asserted Claims are only directed to aspirational functions and results, without

actually providing any “technology-based solution” for achieving these results. For example,

claim 1 of the ’131 patent refers to a “demand response system” and “modifying the application

of charge transfer based on communications received as part of” that system without setting forth

how those communications are generated by the “remote server” or how they are used by the

claimed “apparatus.” Simply identifying an overarching desirable outcome (such as optimizing

power usage) without any specifying technical improvements over the prior art to achieve this

outcome does not rise to the level of an inventive and thus patent-eligible concept. See Erie

Indemnity, 850 F.3d at 1330-32 (Fed. Cir. 2017) (affirming invalidity because the claims did not

recite “any particular unique delivery of information” and holding without an explanation of the

mechanism for how the result is accomplished, the invention cannot supply an inventive

concept.”). Any implementation details found in the claims are, instead, a natural consequence




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of applying the abstract idea at issue to a generic electric vehicle charging station. See Erie

Indemnity, 850 F.3d at 1329 (distinguishing Bascom on the basis that “[t]he use of metafiles . . .

is yet another natural consequence of carrying out the abstract idea in a computing environment

and is, therefore, also insufficient to transform a patent-ineligible abstract idea into a patent-

eligible invention”).

       In sum, the Asserted Patents simply utilize generic computer and electric vehicle

charging station components arranged in conventional fashion.         These claimed components

merely set forth functionally-claimed solutions with no inventive technical mechanisms for how

those solutions are to be achieved. Thus, the Asserted Patents lack an inventive concept at Alice

step two and are invalid under §101.

V.     CONCLUSION

       For the above reasons, Defendant respectfully requests that this Court dismiss

ChargePoint’s Complaint with prejudice under Fed. R. Civ. P. 12(b)(6), because all the Asserted

Claims fail to set forth patent eligible subject matter under 35 U.S.C. § 101.




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DATED: January 8, 2018              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document on January 8, 2018.


                                                           /s/ Alan L. Whitehurst________
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